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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE US.W‘
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-'- oF z~;;_;' f .,‘r.
X ' ’/'iLn/;PJS
ARvIs R. CLARK, X
X
Plaintiff, X
X
vs. X No. 04-3046-D/P
X
FEDEX E`.XPRESS, X
X
Defendant. l
l

 

ORDER DENYING APPOINTMENT OF COUNSEL
AND
ORDER TO ISSUE SERVICE OF PROCESS

 

Plaintiff' Arvis R. Clark filed a pro §§ complaint
pursuant to Title Vll of the Civil Rights Act of 1964, 42 U.S.C. §
2000e et §§g;, on December 2?, 2004, along with an application to
proceed in fgrma pauperis. Because the information provided by the
plaintiff was insufficient to permit the Court to conclude that he
is indigent and unable to pay the filing fee or to give security
therefor, the Court issued an order on March 31, 2005 directing the
plaintiff, within thirty days, to file a properly completed in
fgrma pauperis affidavit or pay the $150 civil filing fee.
Plaintiff paid the filing fee on April 19, 2005. The Clerk shall
record the defendant as Fedex Express.

The plaintiff has filed a motion seeking appointment of

counsel. Two statutes authorize the district court to request or

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with mile ea and/or rs(a) FHCP on ‘/ 12 2 'O g

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appoint counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § 1915(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel.”l Similarly,
under 42 U.S.C. § 2000e-5(f)(1), “upon application by the
complainant and in such circumstances as the court may deem just,
the court may appoint an attorney.” However, “{t]here is no
constitutional or .. . statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977}. Although “no comprehensive definition of exceptional
circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th
Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
ppg §§ litigant’s prior efforts to retain counsel, and her ability
to present the claims. Henrv v. Citv Of Detroit Manpower Dep’t, 763
F.2d 757, 760 (6th Cir. 1985); Wigdins v. Sargent, 753 F.2d 663,
668 (Sth Cir. 1985).

As a general ruler counsel should be appointed in civil

cases only if a litigant has made “a threshold showing of some

 

1 However, “§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

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likelihood of merit.” Cooper v. A. Sardenti Co., 877 F.2d 170, 174
(2d Cir. 1989).2 As a preliminary matter, because the plaintiff has
not established that he is indigent, he has not demonstrated that
he is eligible for appointed counsel. Even if that were not the
case, at this stage of the proceedings, before the Court has had
the opportunity to assess the strength of plaintiff's case, the
Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel at this time. Furthermore, it does
not appear from the affidavit supporting plaintiff’s motion that he
will be unable to obtain counsel. on his own. The motion for
appointment of counsel is DENIED.

Within thirty (30) days of the date of entry of this
order, the plaintiff shall personally appear at the Clerk’s office
and, upon presentation of a Copy of this order, the Clerk shall
provide plaintiff one (1) blank, unsigned summons. Pursuant to Fed.
R. Civ. P. 4(b), the plaintiff is responsible for properly filling
out the summons and presenting it to the Clerk for signature and
seal. If the summons is in proper form,r the Clerk shall sign, seal,r

and issue it to the plaintiff for service on the defendant. The

 

2 The Second Circuit elaborated: “Courts do not perform a useful

service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent.”
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plaintiff is responsible for ensuring that service is effected on
the defendant pursuant to Fed. R. Civ. P. 4(h)(1).3

lt is ORDERED that the plaintiff shall serve a copy of
every further document filed in this cause on the attorney for the
defendant, or on the defendant if it has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and the local rules of this Court.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
reguirements, or any other order of the Court, may result in this
case being dismissed without further notice.

The plaintiff is advised that the time limit set forth in
Fed. R. Civ. P. 4(m) shall commence running on the date of entry of
this order.

IT lS 30 ORDERED this §2§§ day of April, 2005.

 

NITED STATES DISTRICT JUDGE

 

3 Plaintiff also must comply with Rule 4(c)(2), which requires, in
part: “Service may be effected by any person who is not a party and who is at
least 18 years of age.”

 

_ DISTRICT C URT - WESTENRDT'ISRI' F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-03046 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

Arvis R. Clark
1549 Elliston Rd.
l\/lemphis7 TN 38106

Honorable Bernice Donald
US DISTRICT COURT

